          Case 1:20-cv-00954-RP Document 1 Filed 09/16/20 Page 1 of 11




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

ONELIVE LLC,                                    §
                                                §
       Plaintiff,                               §
                                                §
v.                                              §
                                                § Civil Action No. 1:20-cv-00954
PITNEY BOWES INC.,                              §
                                                §
      Defendant.                                §
                                                §


                          PLAINTIFF’S ORIGINAL COMPLAINT

       Plaintiff OneLive LLC d/b/a One Live Media (“OneLive”) files this Original Complaint

against Defendant Pitney Bowes, Inc. (“Pitney Bowes”) alleging claims for breach of contract,

promissory estoppel, and quantum meruit. These theories of liability are based on largely the same

set of facts, namely Pitney Bowes’ refusal to abide by and, ultimately, breach its obligation to pay

OneLive for the value of discounted postage fees made available by OneLive to Pitney Bowes for

use in Pitney Bowe’s shipping business. OneLive obtained these discounted postage rates, which

it supplied as part of services to business partners like Pitney Bowes, through an agreement it

negotiated with the United States Postal Service (“US Postal”) known as an NSA. Pitney Bowes,

however, has no legitimate basis to shirk its duty to pay for the discounted postage rates in

accordance with the plain the language and structure of the Shipping APIs Fee Agreement between

the Pitney Bowes and OneLive, effective June 18, 2018 (the “Fee Agreement”).

       Rather than compensate a local business like OneLive for the services it provided under

the Fee Agreement, Pitney Bowes has sought to use its multi-billion dollar shipping enterprise to

bully OneLive in the hopes on intimidating it into walking away from money it is rightfully owed.
           Case 1:20-cv-00954-RP Document 1 Filed 09/16/20 Page 2 of 11




Revealing its true purpose to avoid its contractual duties, Pitney Bowes has proffered non-sensical

interpretations of the Fee Agreement, including the deeply flawed proposition that the contract

allegedly places no payment obligation on Pitney Bowes—in other words, that Pitney Bowes can

avail itself of the discounted postage rates provided by OneLive but somehow does not have to pay

for them. The argument is even more remarkable given that Pitney Bowes acknowledged those

duties and obligation—consistent with the intent of the parties—by paying OneLive for the same

discounted postage rates for over a year, up until it unilaterally breached the Fee Agreement. The

law does not abide such sophistry, especially where the only consideration Pitney Bowes provides

under the Fee Agreement is the obligation to pay for discounted postage rates. Simply put, there

is no have-your-cake-and-eat-it-too defense in contract law that could excuse Pitney Bowes’

conduct.

       In addition, emails between OneLive and Pitney Bowes further evince the intent of the

parties when entering the Fee Agreement. These exchanges demonstrate that multiple individuals

at Pitney Bowes responsible for approving and making payments on contracts authorized payment

of the discounted postage rates, as set forth in the Fee Agreement. Nor should that come as a

surprise, as the Fee Agreement’s structure is customary industry practice. In fact, two of Pitney

Bowes’ direct competitors entered into similar agreements to the Fee Agreement with OneLive.1

In short, the evidence points to the inescapable conclusion that the parties intended for Pitney

Bowes to pay OneLive for the services it rendered under the Fee Agreement and, therefore, Pitney

Bowes must pay for the over $400,000 in unpaid discounted postage rates it used pursuant Fee

Agreement.



1
 Allegations in the Original Complaint concerning OneLive are based on personal information
as to OneLive’s own actions and others, and on information and belief as to all other matters.

                                                2
             Case 1:20-cv-00954-RP Document 1 Filed 09/16/20 Page 3 of 11




                                         I.        THE PARTIES

        1.      Plaintiff OneLive provides innovative solutions for its customers in the shipping

and e-commerce businesses. The company’s principle place of business is 410 Baylor Street, Suite

B, Austin, Texas, 78703. OneLive is a limited liability corporation duly organized under the laws

of the State of Texas.

       2.       Pitney Bowes is a world-wide leader in business shipping and related services,

including domestic and international shipping, customer information management, and e-

commerce and support services, among other things. In 2016, Pitney Bowes provided mailing and

shipping services to approximately 1 million customers in around 100 countries over the globe. In

2019, it earned revenues of approximately $3.2 billion dollars.             Pitney Bowes’ corporate

headquarters is in Stamford, Connecticut. The company is incorporated under the laws of the State

of Delaware. Pitney Bowe’s registered agent for process in Texas is CT Corp System, 1999 Bryan

Street, Suite 900, Dallas, Texas 75201-3136.

                                 II.          VENUE & JURISDICTION

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391 because a substantial

part of the events or omissions giving rise to the claims occurred in this District. OneLive

preformed a significant portion, if not all, of its obligations under the Fee Agreement in this District

and received partial compensation in this District from Pitney Bowes’ for its correlative obligation

to pay for the discounted postage rates to OneLive. In addition, multiple witnesses from both

parties concerning the nature of the Fee Agreement and the course of the parties’ performance

therewith are located in this District. Specifically, Pitney Bowes conducted business in the State

of Texas in connection with the facts of this case and as a general matter. For these reasons, the

Court likewise has personal jurisdiction over Pitney Bowes.

                                                   3
              Case 1:20-cv-00954-RP Document 1 Filed 09/16/20 Page 4 of 11




         4.      The federal diversity jurisdiction statute provides that “district courts shall have

original jurisdiction of all civil actions where the matter in controversy exceeds the sum or value

of $75,000, exclusive of interest and costs” and is between “citizens of different States.” 28 U.S.C.

§ 1332. For purposes of determining the state(s) of residence when evaluating the presence of

diversity jurisdiction, Pitney Bowes maintains its corporate headquarters at 3001 Summer Street,

Stamford, Connecticut, 06926 and is incorporated in the State of Delaware. OneLive is a limited

liability corporation incorporated under the laws of the State of Texas, and maintains its corporate

headquarters at 410 Baylor St, Suite B, Austin, Texas 78703. In addition, OneLive alleges

damages in the amount of at least $461,000.00. Diversity jurisdiction therefore exists

                               III.        FACTUAL BACKGROUND

B.       The Fee Agreement and Its Nature and Purpose.

         5.      As part of its business, OneLive entered into a negotiated service agreement

(“NSA”) with U.S. Postal. According to US Postal, an NSA “is a customized and mutually

beneficial contractual agreement between [U.S. Postal] and a specific mailer” that “provides,

prices, and classifications under the terms and conditions established in the NSA and may include

modifications to current mailing standards and other postal requirements.”2 OneLive entered into

a NSA with U.S. Postal that was operative for the entire relevant time period and granted, among

other things, the right for OneLive to use and provide to others, such as Pitney Bowes, discounted

postage rates.

         6.      Effective June 18, 2018, Pitney Bowes and OneLive entered into the Fee

Agreement. As set forth in the Fee Agreement, “the parties agree that [OneLive] aggregates certain

technology services and tools to provide their customers” and that the parties “are entering into


2
    https://pe.usps.com/text/dmm300/709.htm

                                                  4
              Case 1:20-cv-00954-RP Document 1 Filed 09/16/20 Page 5 of 11




[the Fee Agreement] solely so that [OneLive] can provide a solution, including the PBI Service,”

to its “customer[s], Big Commerce,” and their own customers, collectively “End Users.” The PBI

Service is a digital service used by companies in the shipping industry to “solve shipping issues

simply and efficiently.”3 In other words, OneLive brought Big Commerce and Big Commerce’s

customers to Pitney Bowes.

         7.      Section 2 of the Fee Agreement contains a “Postage Model” concerning the services

that OneLive would perform relating to shipping transactions for customers with the PBI Service.

Among other things, OneLive agreed to “establish, fund and manage a single account for postage

with [Pitney Bowes],” from which Pitney Bowes could avail itself of the discounted postage rates

that One Live had negotiated with U.S. Postal pursuant to the NSA. In addition, OneLive agreed

to provide shipper and other end user information “reasonably required for [Pitney Bowes] to

provide the [PBI Services].” The Postage Model also designated OneLive “responsible for all

processing of the bulk postage account for all “End User[s].”

         8.      Consistent with the development of the Postage Model, Section 3 of the Fee

Agreement, entitled “Postage Rates,” gave Pitney Bowes the corollary obligation to compensate

OneLive for the amount of the discounted postage that it had used pursuant to the agreement.

Section 3 expressly guaranteed Pitney Bowes access to the discounted postage rates and provided

that it may “offer the rates to your clients, including but not limited to[,]” the right “to exception

pricing approval” and the ability of “direct engagement with end users” concerning the discounted

rates.




3
    https://www.pitneybowes.com/us/developer/shipping-apis.html

                                                  5
            Case 1:20-cv-00954-RP Document 1 Filed 09/16/20 Page 6 of 11




C.     The Parties Course of Dealing.

       9.      Consistent with the parties’ intention for Pitney Bowe’s to have a correlative duty

to pay OneLive for the amount of money in discounted postage rates that it used, since the

inception of the Fee Agreement on June 18, 2018, Pitney Bowes has incurred hundreds of

thousands, if not millions, of dollars in discounted postage rates for which it subsequently paid to

OneLive.

       10.     However, during the fourth quarter of 2019 and the first quarter of 2020, Pitney

Bowes stopped remitting payments to OneLive for use of the discounted postage rates, which it

nonetheless continued to use. As a result, Pitney Bowes committed a material breach of the Fee

Agreement. The amounts owed were not discovered by OneLive until a subsequent auditing

process.

        11.    Upon discovery, in May 2020 OneLive inquired with Pitney Bowes and requested

they live up to their obligation to pay for the discounted postage rates. In response, Pitney Bowes,

in accordance with the intent of the parties, demonstrated that it understood it was obligated to

compensate OneLive for those rates. Pitney Bowes Director of Strategic Partner Development,

Mr. Bruce Beatty, stated that “[f]inance has calculated the payment due and are in the process of

gathering the approvals for payment.” On June 10 and June 16, 2020, OneLive again specifically

raised the payment shortfalls for Q4 2019 and Q1 2020. Once more confirming that Pitney Bowe’s

owed OneLive for the services it provided—i.e., the discounted postage rates—under the Fee

Agreement, Mr. Beatty did not disclaim any obligation to pay or state that approvals were not

obtained because of some alleged flaw in OneLive’s performance. Instead, he indicated that

payment was forthcoming, although “held up in beurocracy [sic],” promising that “someone will

reach out shortly.”



                                                 6
          Case 1:20-cv-00954-RP Document 1 Filed 09/16/20 Page 7 of 11




D.     The Prevalence of Fee Agreements in the Marketplace.

       12.     The type of agreement discussed herein is common in the relevant marketplace.

For instance, OneLive has maintained agreements with two of Pitney Bowe’s direct competitors

in the shipping marketplace—EasyPost and Stamps.com. In both of those agreements, OneLive

utilized those companies’ PC Postage services to process OneLive’s NSA rates. Both EasyPost

and Stamps.com consistently paid OneLive for their PC Postage processing of the discounted

postage rates per the NSA.

                                IV.        CLAIMS FOR RELIEF

A.     Count I: Breach of Contract Against Pitney Bowes

       13.     The Fee Agreement represents an enforceable contract. To facilitate the expansion

of the PBI Service, OneLive provided consideration by developing the Postage Model and,

relatedly, by providing Pitney Bowes with right to participate with customers, including the

BigCommerce partnership, for discounted postage rates that OneLive had negotiated with U.S.

Postal. The contract provided Pitney Bowes with the corollary obligation and consideration to pay

for the discounted postage rates it used. Accordingly, the contract has the necessary mutuality of

obligation required to be enforceable.

       14.     OneLive is a proper party to bring a breach of contract action because it is the

signatory on the contract.

       15.     During the duration of the contract, OneLive performed its obligations, tendered

performance of, or was excused from performing its contractual obligations, including with respect

to the Postage Model and the provision of discounted postage rates.

       16.     Pitney Bowes breached the Fee Agreement some time in Q4 2019 and thereafter

when it stopped compensating, and continued not to compensate, OneLive for the discounted

postage rates it utilized pursuant to the NSA between OneLive and U.S. Postal.

                                                7
          Case 1:20-cv-00954-RP Document 1 Filed 09/16/20 Page 8 of 11




        17.    Pitney Bowe’s breach of the Fee Agreement has caused OneLive injury and

damages in an amount of at least $461,000.00, representing unpaid discounted postage rates.

B.      Count II: Promissory Estoppel Against Pitney Bowes (In The Alternative)

        18.    In the alternative to its breach of contract claim, OneLive asserts a cause of action

against Pitney Bowes for promissory estoppel.

        19.    Pitney Bowe’s made a promise to pay OneLive for its use of the discounted postage

rates that OneLive had negotiated pursuant to a separate agreement with U.S. Postal.

        20.    OneLive reasonably and substantially relied on that promise. Among other things,

absent that promise, OneLive would not have entered into the Fee Agreement because Pitney

Bowes would not have had a corollary obligation to compensate OneLive for the services it

provided under the Fee Agreement.

        21.    OneLive’s reliance was foreseeable to Pitney Bowes because the type of promise

made by Pitney Bowes is one that is routinely made by other shipping companies in the industry

and relied on by companies like OneLive.

        22.    Ordering Pitney Bowe’s to pay OneLive for the amount of discounted postage rates

that it has refused to pay in keeping with its promise would be consistent with the ends of justice.

Justice should not allow Pitney Bowes, one of the world’s largest, multi-billion-dollar shipping

magnets, to flex its financial muscle and unilaterally attempt to escape from the material promises

it made to OneLive. Pitney Bowes has no cognizable excuse for its non-payment of the amounts

owed.

C.      Count III: Quantum Meruit Against Pitney Bowes

        23.    In the alternative to its breach of contract claim, OneLive asserts a cause of action

against Pitney Bowes for quantum meruit.



                                                 8
           Case 1:20-cv-00954-RP Document 1 Filed 09/16/20 Page 9 of 11




        24.      One Live provided valuable services to Pitney Bowe’s by developing the Postage

Model and by allowing Pitney Bowes access to discounted postage rates OneLive had separately

negotiated with U.S. Postal. Pitney Bowe’s accepted these services by utilizing them from June

18, 2018 and beyond the date it breached the Fee Agreement, using hundreds of thousands, if not

millions, of dollars in discounted postage rates.

        25.      Pitney Bowes had reasonable notice that One Live expected compensation for the

services. Pitney Bowes understood, based on industry practice, that companies with NSAs with

U.S. Postal expect to be compensated when they offer their negotiated discounted postage rates to

shipping companies like Pitney Bowes.

                                  V.       DEMAND FOR JURY TRIAL

        18.      OneLive hereby demands a trial by jury on all issues of fact to which it is entitled

to a jury trial in this action.

                                           VI.          PRAYER

        19.      For all the foregoing reasons, the OneLive requests that the Court enter judgment

in its favor and award it the following relief against Pitney Bowes:

                 a.      damages in the amount no less than $461,000 and ultimately to be proven
                         at trial
                 b.      costs of court;
                 c.      reasonable and necessary attorneys’ fees pursuant to Tex. Civ. Prac. & Rem.
                         Code § 38.001(1)-(5) & (8) and any other analogous statutes or provisions
                         of law;
                 d.      pre-judgment and post-judgment interest at the highest lawful rate; and
                 e.      such other relief, at law or in equity, to which it may be justly entitled.




                                                    9
        Case 1:20-cv-00954-RP Document 1 Filed 09/16/20 Page 10 of 11




Dated: September 16, 2020                  Respectfully submitted,

                                           MAYER LLP



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                                           ATTORNEYS FOR PLAINTIFF
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                                     10
         Case 1:20-cv-00954-RP Document 1 Filed 09/16/20 Page 11 of 11




                               CERTIFICATE OF SERVICE

       I, Aaron Speer, hereby certify that a copy of the foregoing Original Complaint has or will

be served on Pitney Bowe’s registered agent for the service of process in accordance with the

Federal Rules of Civil Procedure and/or counsel for Pitney Bowes by electronic mail.




                                                   Aaron Speer, Esq.




                                              11
